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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ERIK GARCIA,                                         )
                                                     )
                       Plaintiff,                    )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        Case No.
VNAN CORPORATION,                                    )
                                                     )
                       Defendant.                    )

                                         COMPLAINT

       COMES NOW, ERIK GARCIA, by and through the undersigned counsel, and files this,

his Complaint against Defendant, VNAN CORPORATION, pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as

follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                            PARTIES

       2.      Plaintiff, ERIK GARCIA (hereinafter “Plaintiff”) is, and has been at all times

relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking and standing.



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       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property within six months after it is accessible (“Advocacy Purposes”).

       7.      Defendant, VNAN CORPORATION (hereinafter “VNAN CORPORATION”), is

a Texas corporation that transacts business in the State of Texas and within this judicial district.

       8.      Defendant, VNAN CORPORATION, may be properly served with process for

service via its Registered Agent, to wit: c/o Vuong Duc Dang, Registered Agent, 7654 Hereford

Street, Houston, TX 77087.

                                  FACTUAL ALLEGATIONS

       9.      On or about November 24, 2020, Plaintiff was a customer at “El Ahorro

Supermarket” a business located at 4725 Telephone Road, Houston, TX 77087, referenced

herein as “El Ahorro Supermarket”. Attached is a receipt documenting Plaintiff’s purchase. See

Exhibit 1. Also attached is a photograph documenting Plaintiff’s visit to the Property. See

Exhibit 2.

       10.     Defendant, VNAN CORPORATION, is the owner or co-owner of the real

property and improvements that El Ahorro Supermarket is situated upon and that is the subject of

this action, referenced herein as the “Property.”



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       11.     Plaintiff lives 16 miles from the Property.

       12.     Plaintiff’s access to the business(es) located 4725 Telephone Road, Houston, TX

77087, Harris County Property Appraiser’s identification number 0551400120011 (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and he will be denied and/or limited in the future unless and until

Defendant, VNAN CORPORATION, is compelled to remove the physical barriers to access and

correct the ADA violations that exist at the Property, including those set forth in this Complaint.

       13.     Defendant, v, as property owner, is responsible for complying with the ADA for

both the exterior portions and interior portions of the Property. Even if there is a lease between

Defendant, VNAN CORPORATION, and the tenant allocating responsibilities for ADA

compliance within the unit the tenant operates, that lease is only between the property owner and

the tenant and does not abrogate the Defendant’s independent requirement to comply with the

ADA for the entire Property it owns, including the interior portions of the Property which are

public accommodations. See 28 CFR § 36.201(b).

       14.     Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months after the barriers

to access detailed in this Complaint are removed and the Property is accessible again. The

purpose of the revisit is to be a return customer, to determine if and when the Property is made

accessible and to maintain standing for this lawsuit for Advocacy Purposes.

       15.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer living in the near vicinity as well as for Advocacy Purposes, but does not intend

to re-expose himself to the ongoing barriers to access and engage in a futile gesture of visiting



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the public accommodation known to Plaintiff to have numerous and continuing barriers to

access.

          16.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered the barriers to access the Property that are detailed in this

Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access present at the Property.

                                        COUNT I
                            VIOLATIONS OF THE ADA AND ADAAG

          17.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

          18.     Congress found, among other things, that:

          (i)     some 43,000,000 Americans have one or more physical or mental
                  disabilities, and this number is increasing as the population as a whole is
                  growing older;

          (ii)    historically, society has tended to isolate and segregate individuals with
                  disabilities, and, despite some improvements, such forms of discrimination
                  against individuals with disabilities continue to be a serious and pervasive
                  social problem;

          (iii)   discrimination against individuals with disabilities persists in such critical
                  areas as employment, housing public accommodations, education,
                  transportation, communication, recreation, institutionalization, health
                  services, voting, and access to public services;

          (iv)    individuals with disabilities continually encounter various forms of
                  discrimination, including outright intentional exclusion, the discriminatory
                  effects of architectural, transportation, and communication barriers,
                  overprotective rules and policies, failure to make modifications to existing
                  facilities and practices, exclusionary qualification standards and criteria,
                  segregation, and relegation to lesser service, programs, activities, benefits,
                  jobs, or other opportunities; and

          (v)     the continuing existence of unfair and unnecessary discrimination and
                  prejudice denies people with disabilities the opportunity to compete on an
                  equal basis and to pursue those opportunities for which our free society is


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               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       19.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       20.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       21.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       22.     The Property is a public accommodation and service establishment.

       23.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).



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       25.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       26.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property as well as an independent advocate for the disabled,

but could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       27.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       28.     Defendant, VNAN CORPORATION, has discriminated against Plaintiff (and

others with disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       29.     Defendant, VNAN CORPORATION, will continue to discriminate against

Plaintiff and others with disabilities unless and until Defendant, VNAN CORPORATION, is



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compelled to remove all physical barriers that exist at the Property, including those specifically

set forth herein, and make the Property accessible to and usable by Plaintiff and other persons

with disabilities.

        30.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing

of this Complaint, that precluded and/or limited Plaintiff’s access to the Property and the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

        (i)     In front of El Ahorro, due to a failure to enact a policy of proper maintenance, the

                ground surfaces of the one accessible space have vertical rises in excess of ¼ (one

                quarter) inch in height, are not stable or slip resistant, have broken or unstable

                surfaces or otherwise fail to comply with Sections 302, 303 and 502.4 of the 2010

                ADAAG standards. This violation would make it dangerous and difficult for

                Plaintiff to access the units of the Property.

        (ii)    In front of El Ahorro, one accessible parking space has a cross-slope in excess of

                1:48 in violation of Section 502.4 of the 2010 ADAAG standards and is not level.

                This violation would make it dangerous and difficult for Plaintiff to exit and enter

                their vehicle while parked at the Property.

        (iii)   In front of El Ahorro, the access aisle to the accessible parking space is not level

                due to the presence of an accessible ramp in the access aisle in violation of

                Section 502.4 of the 2010 ADAAG standards. This violation would make it




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         dangerous and difficult for Plaintiff to exit and enter their vehicle while parked at

         the Property.

 (iv)    In front of El Ahorro, the accessible curb ramp is improperly protruding into the

         access aisle of the accessible parking space in violation of Section 406.5 of the

         2010 ADAAG Standards. This violation would make it difficult and dangerous

         for Plaintiff to exit/enter their vehicle.

 (v)     In front of El Ahorro, due to eight concrete poles and a parking stop in the access

         aisle, the access aisle is not clear or level and therefore is in violation of Section

         502.4 of the 2010 ADAAG Standards. This violation would make it difficult for

         Plaintiff to access the units of the Property from these accessible parking spaces.

 (vi)    On the accessible route leading from the accessible parking spaces towards Unit

         4725A, due to a policy of storing the shopping carts in a corral on the exterior

         access route, coupled with large concrete poles and due to the placement of

         parking stops directly against the curb, when vehicles pull up all the way to the

         parking stop, the "nose" of the vehicle extends into the access route causing the

         exterior access route to routinely have clear widths below the minimum thirty-six

         (36") inch requirement specified by Section 403.5.1 of the 2010 ADAAG

         Standards. This violation would make it dangerous and difficult for Plaintiff to

         access exterior public features of the Property.

 (vii)   On the accessible route leading from the accessible parking spaces towards Unit

         4725A, due to a policy of storing the shopping carts in a corral on the exterior

         access route, coupled with large concrete poles and due to the placement of

         parking stops directly against the curb, when vehicles pull up all the way to the



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          parking stop, cars routinely pull up all the way to the curb and the "nose" of the

          vehicle extends into the access route as a result, in violation of Section 502.7 of

          the 2010 ADAAG Standards, parking spaces are not properly designed so that

          parked cars and vans cannot obstruct the required clear width of adjacent

          accessible routes.

 (viii)   As a result of the violations described in (vi) and (vii) above, the Property lacks

          an accessible route to all publicly open areas of the Property and to Unit 4725A,

          this is a violation of sections 206.2.4 and 206.4 of the 2010 ADAAG Standards.

          This violation would make it difficult for Plaintiff to access all the areas of the

          Property that are also available to able-bodied individuals.

 (ix)     At Unit 4725A, there is a doorway threshold with a vertical rise in excess of ½

          (one half) inch and does not contain a bevel with a maximum slope of 1:2 in

          violation of Section 404.2.5 of the 2010 ADAAG standards. This violation would

          make it difficult for Plaintiff to access all the units of the Property.

 (x)      Not all entrance doors and doorways comply with Section 404 of the 2010

          ADAAG standards, this is a violation of Section 206.4.5 of the 2010 ADAAG

          standards. This violation would make it dangerous and difficult for Plaintiff to

          access the interior of the Property.

 (xi)     Inside El Ahorro, there are sales and services counters, including the meat

          department and the Western Union area, lacking any portion of the counter that

          has a maximum height of 36 (thirty-six) inches from the finished floor in violation

          of Section 904.4 of the 2010 ADAAG standards, all portions of the sales and

          service counter exceed 36 (thirty-six) inches in height from the finished floor.



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         This violation would make it difficult for Plaintiff to properly transact business at

         the Property.

 (xii)   Defendant fails to adhere to a policy, practice and procedure to ensure that all

         facilities are readily accessible to and usable by disabled individuals.

 EL AHORRO RESTROOMS

 (i)     The restrooms lack signage in compliance with Sections 216.8 and 703 of the

         2010 ADAAG standards. This would make it difficult for Plaintiff and/or any

         disabled individual to locate accessible restroom facilities.

 (ii)    The restrooms lack proper door hardware in violation of Section 404.2.7 of the

         2010 ADAAG standards, as the hardware requires the individual to twist their

         wrist to open the door. This would make it difficult for Plaintiff and/or any

         disabled individual to utilize the restroom facilities.

 (iii)   The height of coat hook located in accessible restroom stall is above 48 (forty-

         eight) inches from the finished floor in violation of Section 308.2.1 of the 2010

         ADAAG standards. This would make it difficult for Plaintiff and/or any disabled

         individual to utilize the restroom facilities.

 (iv)    Restrooms have a vanity sink with inadequate knee and toe clearance in violation

         of Section 306 of the 2010 ADAAG standards. This would make it difficult for

         Plaintiff and/or any disabled individual to safely utilize the restroom facilities.

 (v)     The soap dispenser in the restroom is located outside the prescribed vertical reach

         ranges set forth in Section 308.2.1 (higher than 48 inches from the floor) of the

         2010 ADAAG standards. This would make it difficult for Plaintiff and/or any

         disabled individual to safely utilize the restroom facilities.



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       (vi)     The distance of the centerline of the toilet is not adequately positioned from the

                side wall or partition positioning, as it is more than 20 inches from the side wall,

                in violation of Section 604.2 of the 2010 ADAAG standards. This would make it

                difficult for Plaintiff and/or any disabled individual to safely utilize the restroom

                facilities.

       (vii)    The height of the bottom edge of the reflective surface of the mirror in the

                bathroom is above the 40 inch maximum height permitted by Section 603.3 of the

                2010 ADAAG standards. This violation would make it difficult for the Plaintiff

                and/or any disabled individual to properly utilize the mirror in the restroom.

       (viii)   The door to the restrooms has a maximum clear width below 32 (thirty-two)

                inches in violation of Section 404.2.3 of the 2010 ADAAG standards. This would

                make it difficult for Plaintiff and/or any disabled individual to safely utilize the

                restroom facilities.

       31.      The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       32.      Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       33.      The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       34.      All of the violations alleged herein are readily achievable to modify to the

Property into compliance with the ADA.

       35.      Upon information and good faith belief, the removal of the physical barriers and



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dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       36.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, VNAN

CORPORATION, has the financial resources to make the necessary modifications. According to

the Property Appraiser, the Appraised value of the Property is $1,572,566.00.

       37.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction from the IRS for spending money on accessibility

modifications.

       38.       Upon information and good faith belief, the Property has been altered since 2010.

       39.       In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

       40.       Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

VNAN CORPORATION, is required to remove the physical barriers, dangerous conditions and

ADA violations that exist at the Property, including those alleged herein.

       41.       Plaintiff’s requested relief serves the public interest.

       42.       The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, VNAN CORPORATION.

       43.       Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, VNAN CORPORATION, pursuant to 42 U.S.C. §§ 12188 and 12205.



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       44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, VNAN

CORPORATION, to modify the Property to the extent required by the ADA.

       WHEREFORE, Plaintiff prays as follows:

       (a)    That the Court find Defendant, VNAN CORPORATION, in violation of the ADA

              and ADAAG;

       (b)    That the Court issue a permanent injunction enjoining Defendant, VNAN

              CORPORATION, from continuing their discriminatory practices;

       (c)    That the Court issue an Order requiring Defendant, VNAN CORPORATION, to

              (i) remove the physical barriers to access and (ii) alter the Property to make it

              readily accessible to and useable by individuals with disabilities to the extent

              required by the ADA;

       (d)    That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

              and costs; and




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 (e)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: December 8, 2020

                                     Respectfully submitted,

                                     /s/ Douglas S. Schapiro
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